Case 6:08-cr-00205-MJJ-PJH           Document 697          Filed 08/14/14    Page 1 of 10 PageID #:
                                             3127



                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                              *        CRIMINAL NO. 6:08-0205
                                                                CIVIL NO. 6:13-1986
 VERSUS                                                *        JUDGE DOHERTY

 HAROLD JEREMAINE GUIDRY                               *        MAGISTRATE JUDGE HILL

                           REPORT AND RECOMMENDATION1

           Pending before the undersigned for Report and Recommendation is the Motion to

 Vacate filed pursuant to 28 U.S.C. § 2255 by pro se petitioner, Harold Jeremaine Guidry

 ("Guidry"). [rec. doc. 677]. The Government has filed a Memorandum in Opposition.

 [rec. doc. 682].

           By this Motion, Guidry seeks re-sentencing under the penalty provisions of 21

 U.S.C. § 841, as amended by the Fair Sentencing Act of 2010 ("FSA"), because the FSA

 has recently been held applicable to defendants who committed a crack cocaine offense

 before August 3, 2010, who were sentenced after August 3, 2010, the effective date of the

 Act. Dorsey v. United States, - - U.S. - - , 132 S.Ct. 2321, 183 L.Ed.2d 250 (2012). The

 government does not contest that Guidry's Dorsey claim under the FSA can be considered

 in this § 2255 Motion.

           For the following reasons, the undersigned recommends that the instant § 2255

 Motion be DENIED.




       1
         The Report and Recommendation issued by the undersigned herein has been filed under seal
because it is based, in part, on matters which are currently under seal. This redacted Report and
Recommendation is filed in the public record after redaction of those matters still under seal.
Case 6:08-cr-00205-MJJ-PJH       Document 697      Filed 08/14/14    Page 2 of 10 PageID #:
                                         3128



                                STATEMENT OF CLAIM

        On September 9, 2008, Guidry was named in a multi-count superceding

 indictment. [rec. doc. 97]. On September 16, 2009, he pleaded guilty to Count One of the

 Superceding Indictment which charged Guidry with Conspiracy to Possess with Intent to

 Distribute cocaine, 50 grams or more of Cocaine base (crack) and other controlled

 substances, from November 1, 2005 to August 21, 2008, in violation of 21 U.S.C. § 846,

 841(a)(1) and (b)(1)(A), thereby triggering a pre-FSA statutory mandatory minimum

 sentence of ten years (120 months) imprisonment, if Guidry had no prior felony drug

 convictions. [rec. doc. 334 and 335].

        By Stipulated Factual Basis, Guidry admitted that throughout the course of the

 conspiracy he and his associates were involved with more than 5 kilograms of cocaine, a

 portion of which was converted into more than 50 grams of cocaine base. [rec. doc. 335-

 2].

        Because Guidry had previously been convicted of at least one prior felony drug

 offense, the government filed an information of prior conviction, thereby triggering a pre-

 FSA enhanced statutory mandatory minimum sentence of twenty years (240 months)

 imprisonment. [rec. doc. 245; 21 U.S.C. § 841(b)(1)(A); see also rec. doc. 335-1

 (Affidavit of Understanding of Maximum Penalty)].

                                    REDACTED

        The United States Probation Office prepared a revised Pre-Sentence Investigation

 Report ("PSI") on December 10, 2009 (prior to the time that the government withdrew its

                                              2
Case 6:08-cr-00205-MJJ-PJH        Document 697       Filed 08/14/14     Page 3 of 10 PageID #:
                                          3129



 information of prior conviction) utilizing the November 1, 2009 edition of the United

 States Sentencing Commission Guidelines. [rec. doc. 632, ¶ 15]. The PSI noted that the

 applicable statutory penalty was ten years to life, enhanced to twenty years to life due to

 Guidry's prior felony drug conviction. [rec. doc. 632, pg.1 and ¶ 61].

                                         REDACTED

        The PSI determined that Guidry should be held accountable for at least 4,950

 grams of cocaine and 50 grams of cocaine base [Id. at ¶ 16], which converted to 1,990

 kilograms of marijuana [[Id. at 17-18], that based on this amount his total offense level

 was 27 (base offense level of 30, less a three level decrease for acceptance of

 responsibility) [Id. at ¶ 18, 24, 25] and that his criminal history placed him in Category V

 [Id. at ¶ 40].

        However, because Guidry had at least two prior qualifying felony convictions,

 Guidry was deemed a career offender pursuant to § 4B1.1(a). [Id. at ¶ 26]. Therefore,

 pursuant to § 4B1.1(b)(A), because Guidry's statutory maximum for the offense was life,

 Guidry's base offense level was raised to 37, less a three level decrease for acceptance of

 responsibility, for a total offense level of 34. [Id. at ¶ 26-28]. His criminal history

 Category was additionally raised to Category VI pursuant to § 4B1.1(b). [Id. at ¶ 40].

 Guidry's career offender total offense level of 34 and his career offender criminal history

 Category VI, established a Guidelines range of 262 to 327 months (21 years ten months to

 27 years 3 months) imprisonment. [Id. at ¶ 62].




                                               3
Case 6:08-cr-00205-MJJ-PJH         Document 697     Filed 08/14/14    Page 4 of 10 PageID #:
                                           3130



        Guidry was sentenced on November 30, 2011. [rec. doc. 623]. At sentencing, the

 Court accepted that Guidry was subject to the pre-FSA statutory ten year mandatory

 minimum sentence. However, the Court sentenced Guidry based on his status as a career

 offender. [rec. doc. 625, at ¶ III].

                                        REDACTED

        At sentencing, defense counsel argued for a below Guideline sentence in the range

 of 90 to 120 months imprisonment. [rec. doc. 695, pg. 13-15]. The government

 recommended 131 months imprisonment, which was 50% below the bottom of the

 Guidelines range. [Id. at pg. 15]. In imposing sentence, the Court considered the fact that

 Guidry had been dealing drugs since he was 14 years old, his numerous convictions

 including his involvement in violent matters which indicated a propensity for violence,

 that the offense was committed while another sentence was outstanding and within two

 years of his release from imprisonment, his three children from three different mothers,

 that he was in arrears on his child support payments, and numerous arrests which

 indicated the Guidry was continuing in the criminal drug life and that Guidry was a risk to

 the public. [Id. at 16-23].

                                        REDACTED

        Guidry did not directly appeal his conviction or sentence. The instant § 2255

 motion was filed on June 20, 2013, within one year from the Supreme Court's decision in

 Dorsey.




                                              4
Case 6:08-cr-00205-MJJ-PJH       Document 697      Filed 08/14/14    Page 5 of 10 PageID #:
                                         3131



                                 LAW AND ANALYSIS

        In his Motion, Guidry argues that this Court sentenced him based on the pre-FSA

 statutory mandatory minimum sentence of ten years (120 months) imprisonment, instead

 of the statutory mandatory minimum sentence of five years (60 months) under the FSA.

 He therefore seeks re-sentencing. The government opposes the Motion arguing that

 because Guidry's sentence does not exceed the lower statutory maximum under the FSA

 and there is no indication that the Court would have imposed a lesser sentence had the

 Court applied the FSA, rather than the pre-FSA mandatory sentences, re-sentencing is

 unnecessary in this case. For the reasons which follow, the undersigned agrees.

        Federal statutes impose mandatory minimum prison sentences upon those

 convicted of federal drug crimes. These statutes typically base the length of a minimum

 prison term upon the kind and amount of the drug involved. Until 2010, the relevant

 statute imposed upon an offender who dealt in powder cocaine the same sentence it

 imposed upon an offender who dealt in one-one-hundredth that amount of crack cocaine.

 Dorsey, 132 S.Ct. at 2327.

         The Guidelines determine most drug-crime offense levels in accordance with a

 Drug Quantity Table that lists amounts of various drugs and associates different amounts

 with different “Base Offense Levels” (to which a judge may add or subtract levels

 depending upon the “specific” characteristics of the offender's behavior). Id. at 2327

 citing USSG § 2D1.1. The applicable Guidelines are the ones in effect on the date the

 defendant is sentenced. Id. at 2331 citing 18 U.S.C. § 3553(a)(4)(A)(ii).


                                             5
Case 6:08-cr-00205-MJJ-PJH       Document 697       Filed 08/14/14    Page 6 of 10 PageID #:
                                         3132



        The federal sentencing statutes interact with the Guidelines; a sentencing judge

 must sentence an offender to at least the minimum prison term set forth in a statutory

 mandatory minimum. Id. at 2327 (citations omitted). Therefore, the Drug Quantity

 Table of the Guidelines (set forth in § 2D1.1) incorporates the statutory minimums to set

 a base offense level for a first-time offender that corresponds to the lowest Guidelines

 range above the applicable mandatory minimum and, additionally, sets offense levels for

 smaller drug amounts that do not trigger the mandatory minimums so that the resulting

 Guidelines sentences would remain proportionate to those sentences for amounts that do

 trigger these minimums. Id. at 2327-2328.

        On August 3, 2010, Congress enacted the FSA reducing the crack-to-powder

 cocaine disparity from 100–1 to 18–1. Id. at 2329 citing 124 Stat. 2372. The amount of

 crack triggering the 5 year mandatory sentence was changed from 5 grams to 28 grams;

 the trigger amount for the mandatory 10 year sentence was changed from 50 grams to 280

 grams. Id. Thus, the FSA increased the quantity of drugs necessary to trigger the

 statutory mandatory minimum sentences for cocaine base ("crack") offenses from 5 grams

 to 28 grams for the 5 year minimum sentence under § 841(b)(1)(B), and from 50 grams to

 280 grams for the 10 year minimum sentence under § 841(b)(1)(A).

        The Act also directed the Sentencing Commission to make "conforming

 amendments" to the Guidelines “as soon as practicable”, but no later than 90 days after

 the FSA effective date. Id. The Sentencing Commission complied, issuing "emergency

 amendments" to the Guidelines, including a revised Drug Quantity Table in § 2D1.1.

 These emergency amendments became effective on November 1, 2010 and are contained


                                              6
Case 6:08-cr-00205-MJJ-PJH          Document 697      Filed 08/14/14     Page 7 of 10 PageID #:
                                            3133


 in the November 1, 2010 Supplement to the 2010 Guidelines Manual. Id. at 2329 citing

 75 Fed. Reg. 66188 (2010).

           In general, the applicable statutory penalty provision is determined by the date the

 criminal conduct is committed. Id. at 2331. However, on June 21, 2010, the Supreme

 Court held in Dorsey that the more lenient statutory penalty provisions of the FSA apply

 to defendants who committed a crack cocaine offense before August 3, 2010, who were

 sentenced after August 3, 2010, the effective date of the Act. Dorsey, 132 S.Ct. at 2331.

          In this case, Guidry is correct that under Dorsey the FSA applies to his sentence.

 His criminal conduct pre-dated August 3, 2010, the effective date of the Act, and he was

 sentenced on November 30, 2011, after the effective date of the Act. He is also correct

 that under the FSA he would not have been subject to the pre-FSA ten year to life

 statutory mandatory minimum and maximum sentence set forth in § 841(b)(1)(A) which

 was accepted by the Court.2 Rather, based on the indictment and stipulated quantity of

 drugs with which Guidry was involved, under the FSA, Guidry would have been subject

 to the statutory mandatory minimum of five years to a maximum of forty years

 imprisonment set forth in § 841(b)(1)(B).

          The record demonstrates that Guidry's sentence was not based on the quantity of

 drugs for which he was held accountable; his sentence was based on his status as a career

 offender. The career offender Guideline ties the applicable offense level to the statutory

 maximum sentence for the offense. USSG 4B1.1(b). Under the FSA, the statutory

 maximum applicable to Guidry should have been forty years imprisonment, which results


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          See fn. 1 supra.

                                                7
Case 6:08-cr-00205-MJJ-PJH        Document 697       Filed 08/14/14     Page 8 of 10 PageID #:
                                          3134


 in a lower base offense level of 34, less a three level decrease for acceptance of

 responsibility, for a lower total offense level of 31. Guidry's career offender total offense

 level of 31 and his career offender criminal history Category VI, under the amended

 Guidelines which incorporate the statutory reduction intended to reduce the ratio of crack

 cocaine to powder cocaine to an 18:1 ratio, establishes a lower Guidelines range of 188 to

 235 months imprisonment.

        Guidry was sentenced well below this range to 131 months imprisonment, which is

 far above the FSA statutory 5 year minimum and far below the FSA 40 year statutory

 maximum.

                                        REDACTED

        Under similar circumstances, the Fifth Circuit has denied re-sentencing under

 Dorsey. United States v. Neal, 509 Fed. Appx. 302, 312-313 (5th Cir. 2013) (denying a

 claim for re-sentencing under the FSA because the defendant's sentence did "not exceed

 the lower statutory maximum under the FSA, and there is no indication in the record that

 the district court would have imposed a lesser sentence had the lower statutory minimum

 and maximum sentences of imprisonment been in place at the time of sentencing.");

 United States v. Bates, 515 Fed. Appx. 265, 266, 2013 WL 703324, 265-266 (5th Cir.

 2013) (rejecting a claim for re-sentencing in light of Dorsey where the trial court

 supported its 10 year sentence with reasons independent of any mandatory minimum); see

 also United States v. Bennett, 485 Fed. Appx. 673, 675 (5th Cir. 2012); See also United

 States v. Thomas, 488 Fed. Appx. 440, 450-451 (11th Cir. 2012) (holding that a sentence

 which fell between the FSA statutory minimum and maximum was harmless where the


                                               8
Case 6:08-cr-00205-MJJ-PJH          Document 697      Filed 08/14/14    Page 9 of 10 PageID #:
                                            3135


 record before the Court also demonstrated that the Court would have imposed the same

 sentence absent error).

           Simply put, the record clearly establishes that Guidry's sentence was not based on

 the pre-FSA ten year mandatory minimum sentence and that the Court would not have

 imposed a different sentence had it known that the statutory changes effected by the FSA

 applied to Guidry's offense. Thus, even though the Court failed to recognize the

 retroactive applicability of the FSA in determining Guidry's sentence, he is entitled to no

 relief.

                                        CONCLUSION

           For the foregoing reasons, IT IS RECOMMENDED that the instant § 2255

 Motion be DENIED.

           Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this recommendation have fourteen (14) days from service of this Report

 and Recommendation to file specific, written objections with the Clerk of Court. A party

 may respond to another party’s objections within fourteen (14) days after being served

 with a copy of any objections or response to the District Judge at the time of filing.

           Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this Report and Recommendation within

 fourteen (14) days following the date of its service, or within the time frame

 authorized by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either

 the factual findings or the legal conclusions accepted by the District Court, except




                                                9
Case 6:08-cr-00205-MJJ-PJH      Document 697 Filed 08/14/14     Page 10 of 10 PageID
                                      #: 3136


 upon grounds of plain error. See Douglass v. United Services Automobile

 Association, 79 F.3d 1415 (5th Cir. 1996).

       Signed at Lafayette, Louisiana, August 14, 2014.




                                              10
